          Case 1:20-cv-03010-APM Document 335-1 Filed 04/07/22 Page 1 of 6




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA, et al.,

                                  Plaintiffs,           Case No. 1:20-cv-03010-APM

 v.                                                     HON. AMIT P. MEHTA
 GOOGLE LLC,

                                  Defendant.




                         DECLARATION OF MEAGAN K. BELLSHAW

I, Meagan K. Bellshaw, declare as follows:

1. I am a Trial Attorney with the Antitrust Division of the United States Department of Justice

      (“Antitrust Division”), counsel to Plaintiff United States of America.

2. I submit this declaration in support of Plaintiffs’ Reply in Support of Plaintiff’s Motion to

      Sanction Google and Compel Disclosure of Documents Unjustifiably Claimed by Google as

      Attorney-Client Privileged (Reply). I have personal knowledge of the facts set forth in this

      declaration, and, if called to testify, could and would do so under oath.

3. Attached hereto are true and correct copies of the following documents produced by Google

      LLC (“Google”) in this matter:

         a. Exhibit 38 is a two-page email titled “Re: Latest market share analysis,” dated

             October 9, 2009, and bearing the Bates stamp GOOG-DOJ-12878297.




                                                   1
Case 1:20-cv-03010-APM Document 335-1 Filed 04/07/22 Page 2 of 6




b. Exhibit 39 is a three-paged email titled, “Digest for                    - 3 Messages

   in 3 Topics,” dated January 7, 2010, and bearing the Bates stamp GOOG-DOJ-

   20207374.

c. Exhibit 40 is a seven-page email titled “Fwd: Apple Defends App Store, Apple’s

   App Store Motivations (Stratechery Daily Update 5-30-2019),” dated May 30, 2019,

   and bearing the Bates stamp GOOG-DOJ-32038891.

d. Exhibit 41 is a four-page email titled “Antitrust story,” dated October 18, 2020, and

   bearing the Bates stamp GOOG-DOJ-29986895.

e. Exhibit 42 is a three-page email titled “Re: URGENT –

                 ,” dated July 11, 2017, and bearing the Bates stamp GOOG-DOJ-

   04245525. Google produced Exhibit 42 with redactions on May 3, 2020.

f. Exhibit 43 is a three-page email titled “Re: URGENT –

                 ,” dated July 11, 2017, and bearing the Bates stamp GOOG-DOJ-

   04245525. Google produced Exhibit 43 without redactions on March 27, 2022.

g. Exhibit 44 is a four-page email titled “Re:

         ,” dated August 21, 2018, and bearing the Bates stamp GOOG-DOJ-31861007.

h. Exhibit 45 is a four-page email titled “Re: [A/C Privileged]

                     ,” dated September 2, 2020, and bearing the Bates stamp GOOG-

   DOJ-31862242. Google produced a deprivileged version on March 19, 2022.

i. Exhibit 46 is a three-page email titled “Re:

                 ” dated October 15, 2018, and bearing the Bates stamp GOOG-DOJ-

   32019754. Google produced a deprivileged version on March 27, 2022.




                                        2
Case 1:20-cv-03010-APM Document 335-1 Filed 04/07/22 Page 3 of 6




j. Exhibit 47 is a three-page email titled “Re: Discuss objectives for Search-related

   efforts,” dated April 10, 2019, and bearing the Bates stamp GOOG-DOJ-32026492.

   Google produced a deprivileged version on March 27, 2022.

k. Exhibit 48 is an eleven-page email titled “Re: Samsung deck for Sundar,” dated June

   15, 2017, and bearing the Bates stamp GOOG-DOJ-32028763. Google produced a

   deprivileged version on March 27, 2022.

l. Exhibit 49 is a two-page email titled “Prep doc for ES conversation on Monday,”

   date March 10, 2018, and bearing the Bates stamp GOOG-DOJ-32029748. Google

   produced a deprivileged version on March 27, 2022.

m. Exhibit 50 is a two-page email titled “Re: Samsung content for Phillipp/

   which is going to                 ,” dated April 19, 2018, and bearing the Bates

   stamp GOOG-DOJ-32029883. Google produced a deprivileged version on March 27,

   2022.

n. Exhibit 51 is a one-page email titled “LG CEO MWC meeting prep,” dated February

   10, 2019, and bearing the Bates stamp GOOG-DOJ-32030544. Google produced a

   deprivileged version on March 27, 2022.

o. Exhibit 54 is a one-page email titled “Deck for tomorrow's                 on US

   Carrier Rev Share Agreements,” dated May 1, 2020, and bearing the Bates stamp

   GOOG-DOJ-32042330. Google produced a deprivileged version on March 27, 2022.

p. Exhibit 55 is a four-page file titled “Finance POV on FYI                  on Android

   Rev Share Deals **Privileged & Confidential**,” dated July 24, 2019, and bearing

   the Bates stamp GOOG-DOJ-32042539. Google produced a deprivileged version on

   March 28, 2022.



                                        3
       Case 1:20-cv-03010-APM Document 335-1 Filed 04/07/22 Page 4 of 6




       q. Exhibit 56 is a one-page email titled “Draft Note to Patrick;                on

           2014.12.15,” with April 20, 2015 in the DateATRMaster metadata field, and bearing

           the Bates stamp GOOG-DOJ-17541107.

       r. Exhibit 57 is a three-page email titled “Finance Prep –                Deal Review

           Tomorrow,” dated April 21, 2015, and bearing the Bates stamp GOOG-DOJ-

           32036318.

       s. Exhibit 58 is a two-page file titled “

                ,” with February 20, 2014 in the DateATRMaster metadata field, and bearing the

           Bates stamp GOOG-DOJ-29633231.

       t. Exhibit 59 is a two-page email titled “Samsung Rev Share Deal,” dated November

           30, 2016, and bearing the Bates stamp GOOG-DOJ-31860787. Google produced a

           deprivileged version on March 19, 2022.

4. Attached hereto are true and correct copies of the following additional exhibits:

       a. Exhibit 60 consists of pages 1, 152, 153, and 154, from the 30(b)(6) deposition

           transcript of Google’s Adam Juda, taken in this matter on October 19, 2021. Yellow

           highlights have been added by Plaintiff. The full deposition transcript is available at

           the Court’s request.

5. On August 11, 2021, my colleague Lauren Willard of the Antitrust Division sent Franklin

   Rubinstein of Wilson Sonsini Goodrich & Rosati and several other outside counsel an email

   asking Google to produce an index that lists all the Bates numbers and associated privilege

   log identifier of files produced in response to Plaintiffs’ privilege challenges. Google has not

   produced the requested index.




                                                   4
         Case 1:20-cv-03010-APM Document 335-1 Filed 04/07/22 Page 5 of 6




6. Google has produced 59,395 deprivileged documents pursuant to an agreement with

   Plaintiffs to re-review certain challenged files for privilege. Deprivileged files were identified

   by Google using the “Privilege Review” tag in each produced file’s “Properties” metadata.

7. Google has produced 9,278 deprivileged documents since March 8, 2022. Of these

   deprivileged documents 845 were produced between March 8 and March 22, 2022 and 8,424

   were produced on or after March, 27, 2022.

8. On March 27, 2022, Google produced “PROD171” consisting of 8,412 de-privileged

   documents that are Bates-labeled GOOG-DOJ-04123029 to GOOG-DOJ-32042432 (non-

   consecutive).

9. Since February 1, 2022, Google has produced to Plaintiffs 12,316 deprivileged documents

   from the custodial files of previously deposed Google employees, including but not limited

   to:

         a. 2,414 deprivileged documents from the custodial files of Jim Kolotouros. Mr.

            Kolotouros was deposed on December 16, 2021.

         b. 1,361 deprivileged documents from the custodial files of Jamie Rosenberg. Mr.

            Rosenberg was deposed on December 13, 2021.

         c. 993 deprivileged documents from the custodial files of Joan Braddi. Ms. Braddi was

            deposed on January 25, 2022.

         d. 650 deprivileged documents from the custodial files of Paul Gennai. Mr. Gennai was

            deposed on September 2, 2021.

         e. 559 deprivileged documents from the custodial files of Hiroshi Lockheimer. Mr.

            Lockheimer was deposed on February 16-17, 2022.




                                                 5
        Case 1:20-cv-03010-APM Document 335-1 Filed 04/07/22 Page 6 of 6




       f. 443 deprivileged documents from the custodial files of Yuki Richardson. Ms.

           Richardson was deposed on December 15, 2021.

       g. 328 deprivileged documents from the custodial files of Philip Schindler. Mr.

           Schindler was deposed on February 9, 2022.

   I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

   Executed on the 1st Day of April, 2022, in Washington, D.C.




                                             /s/ Meagan K. Bellshaw
                                             Meagan K. Bellshaw




                                                6
